                  Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 1 of 6
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                      IN THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS
                                         CIVIL DIVISION


          WILLIAM HATCHER                                                               PLAINTIFF

          vs.                                  Case No. 62 CV - 2016 -         g -LJ
          MDOW INSURANCE COMPANY and
          WELLS FARGO HOME MORTGAGE, INC.                                              DEFENDANTS


                                             COMPLAINT AT LAW


                Comes the Plaintiff, William Hatcher, by and tlu·ough his attorneys        EASLEY &


          HOUSEAL,     PLLC,   and for his cause of action against the Defendants, MDOW Insurance

          Company and Wells Fargo Home Mortgage, states:

                                             Iurisdiction and Venue

                1.        At all times relevant hereto Plaintiff was an individual resident of St.

          Francis County, Arkansas.

                2.        Defendant MDOW Insurance Company (hereinafter "MDOW") is an

          insurance company authorized to do business in the state of Arkansas, and in fact doing

          business in St. Francis County, Arkansas. MDOW's principal place of business is

          Houston, Texas.

                 3.       Defendant Wells Fargo Horne Mortgage (hereinafter "Wells Fargo") is a

          banking institution authorized to do business in the state of Arkansas, and in fact doing

          busir'tess in St. Francis County, Arkansas.

                 4.       This Court has full juris~i01[f ~Me under ACA §16-13-201(a), and

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                                                      sr. FRANCIS COUl'JTY
                Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 2 of 6

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     venue properly lies in this county under the provisions of ACA §23-79-204.

            5.      This case involves the fire loss of a home insured by MDOW. Plaintiff

     mortgaged the home in question with Defendant Wells Fargo. As such, Wells Fargo is a

     necessary and indispensable party hereto. Plaintiffs make no substantive charges against

     said mortgagee herein, but instead include the mortgagee only by reason of its necessary

     and indispensable financial interest. Plaintiffs will claim attorneys' fees on any sums

     eventually paid to the mortgagee.

                                         Facts and Allegations

           6.       At the time of the fire loss complained of herein, Plaintiff was the owner of

     the home located at 1986 SFC 415, Forrest City, Arkansas.

           7.       Plaintiff obtained insurance for the home through Defendant MDOW,

     policy number ARP_Hl20161-15. The policy is attached hereto as Exhibit" A."

           8.       The policy was   in full force and effect on July 14, 2015.
           9.       On July 14, 2010, the home caught fire.

           10.      The fire caused severe damage to the home, causing the home to be

     unlivable.

           11.      Plaintiff promptly and timely reported the fire loss to MDOW, and

     requested payment under the policy.

           12.      Since that time, Plaintiff has cooperated with MDOW and made reasonable

     attempts to persua<;Ie MDOW to pay      th~   loss.

           13.      Plaintiff has complied with all the provisions of the policy regarding "What

     Must Be Done In Case Of Loss Or Occurrence," found on page 26 of the policy.
                                               Page 2 of 5
               Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 3 of 6

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              14.    Instead of paying the loss, the MDOW has procrastinated, delayed, and

    frustrated Plaintiff's attempts to recover the insurance proceeds rightfully due to him.

              15.    Immediately after the fire, Plaintiff obtained two estimates from qualified

    contractors to return the home to a livable condition: one for $92,895.00, and the other for

    $97,080.00.

              16.    At the time of the fire, less than $90,000.00 was owed on the mortgage.

              17.    MDOW refused to pay for the repairs or the mortgage.

              18.    Under the policy, MDOW is required to pay living costs so that Plaintiff

    may enjoy his normal standard of living in the event of a loss. See paragraph 4(a) on page

    9 of the policy.

              19.    Since the fire and directly due to MDOW's failures, Plaintiff has been

    relegated to sleeping in a camper parked under the garage of his former home.

              20.    MDOW is required to cover debris removal and clean-up costs under the

    policy.

              21.    MDOW has failed and refused to pay for adequate debris removal and

    clean-up costs.

              22.    After a loss, MDOW is required to pay for reasonable costs to protect the

    property against further peril. See paragraph ll(a) on page 14 of the policy.

              23.    MDOW has failed and refused to pay for costs to protect the property from

    further peril.

              24.    MDOW initially valued the damage to the home at $40,550.02. After

    Plaintiff hired an attorney, MDOW' s "determination" of the damage to the home
                                              Page 3 of 5
        Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 4 of 6



increased by over $23,000.00, to $63,593.32. MDOW eventually issued a check for

$63,539.32, wW1 full knowledge that this amount would not pay for repairs sufficient to

allow the Plaintiff to repair the home and move back into the same. That check is being

held by Plaintiff's counsel, in trust, until further orders of the Court.

       25.      MDOW unilaterally changed a material portion of the policy which

sufficiently decreased the benefits recoverable, while requiring the Plaintiff to pay the

same premiums (or more). Specifically, after the Plaintiff obtained the policy, MDOW

issued an endorsement which allows MDOW to pay all losses according to "actual cash

value," as opposed to "replacement costs," which were prescribed and described in the

original policy purchased by Plaintiff.

       26.      By. refusing to pay loss pursuant to the terms of the policy, Defendant

MDOW has breached its contract of insurance. Plaintiff has been damaged and is entitled

to judgment for:

             $33,486.68 for loss associated with the dwelling, (estimated repair costs of

             $97,080.00 less the $63,593.32 tendered by MDOW);

             $40,000.00 for the loss of personal property in the dwelling;

             Over $10,000.00 for living expenses after displacement; and

             Debds removal and clean-up costs.

The total losses owed to the Plaintiff less a $1,000.00 deductible, is Eighty Tluee

Thousand, F~ur Hundred Eighty_ Six Dollars and Six_ty Eight- Cents ($83,~86.68).

       27.      In addition to the compensatory damages sought herein, Plaintiffs should

be awarded judgment against the Defendant for the 12% statutory penalty, together with
                                          Page 4 of 5
             Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 5 of 6



,.   a reasonable attorney fee, and for 6% pre-judgment interest.

            28.       In addition, Defendant MDOW's actions in this case are so oppressive and

     malicious they amountto bad faith. Accordingly, Plaintiff should be compensated for the

     mental anguish caused by MDOW'S oppressive actions.

            29.       Punitive damages should be assessed MDOW as punishment, and to deter

     MDOW, and others similarly situated, from such conduct in the future.

            30.       Plaintiffs demand a jury trial.

            WHEREFORE, Plaintiff William Hatcher prays ·for judgment in the amount of

     $83,486.68 against the MDOW Insurance Compai1y for all 'of-thefr damages and losses

     under the insurance contract; for a 12% statutory penalty, a·reasonable attorney fee, pre-

     judgment interest at the rate of 6% per aimum; for      post~judg!nent     interest at the highest

     legal rate; for mental anguish; for punitive darnages; for a juty "trial; and for all other

     proper relief.


                                                 Respectfully_ s~bmitted,
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                                                        Post Office Box 1115
                                                        Fon:est City, AR 72336-1115
                                                        P: (870) 633-1447
                                                        F: (870) 633-1687


                                               Page 5 of 5
                      Case 2:16-cv-00014-KGB Document 2 Filed 01/21/16 Page 6 of 6

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                MDOW INSURANCE COMPANY
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              HOUSTON, TX 77254




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             WILLIAM HATCHER
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